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                         EXHIBIT 1
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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:


         DECLARATION OF ROBERT J. COSTELLO, ESQUIRE

      Robert J. Costello declares the following:
                               INTRODUCTION
   1. I am submitting this Declaration in support of the Defendant, Stephen K.

      Bannon’s Opposition to the Government’s Motion in Limine to Exclude

      Evidence or Argument Relating to Good-Faith Reliance on Law or Advice

      Of Counsel [Doc. 29] in the above-captioned case. This Declaration is

      based on my personal knowledge.

   2. I am a partner with the New York law firm Davidoff Hutcher & Citron LLP

      and I have been an attorney for almost fifty years. I previously served as the

      Deputy Chief of the Criminal Division of the United States Attorney’s

      Office for the Southern District of New York.

   3. I am providing in this Declaration information that is necessary to respond to

      the Government’s motion; however, it is not my intention nor Mr. Bannon’s

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   intention for the disclosures herein in response to the Government’s motion

   to in any way constitute a waiver of Mr. Bannon’s attorney-client privilege

   with me beyond the information disclosed herein.

4. I am personally familiar with the facts set forth in Mr. Bannon’s Opposition

   to the Government’s Motion in Limine to Exclude Evidence or Argument

   Relating to Good-Faith Reliance on Law or Advice of Counsel

   (“Opposition”). All facts that are alleged in the Opposition are true and

   accurate to the best of my knowledge and recollection. I incorporate herein

   by reference all of the facts alleged in the Opposition. They do not, of

   course, reflect all relevant facts I know in this matter.

5. At all times relevant to the subpoena that is the subject of the above-

   captioned case, I have served as legal counsel for the Defendant Stephen K.

   Bannon.

6. From the initiation of this matter, on September 23, 2021, when I was first

   contacted by a Select Committee representative asking me to accept service

   of the subpoena on behalf of Mr. Bannon, through all times thereafter, any

   and all communication with the Select Committee related to Mr. Bannon has

   been exclusively with me, in my role as legal counsel for Mr. Bannon and

   never with Mr. Bannon. As noted in the Opposition, a Select Committee




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   representative contacted me from the outset and asked me to accept service

   of the subpoena for Mr. Bannon, rather than dealing directly with him.

7. The consideration of a subpoena from a Select Committee of Congress raises

   all sorts of legal issues that a diligent lawyer who faithfully wishes to serve

   his client’s interests and competently advise his client must fully explore.

   Many of these are technical legal issues that a lay person would not be

   familiar with, and certainly Mr. Bannon was not. The subpoena required me

   to become familiar with the Select Committee’s specific rules, the resolution

   for its formation, evaluate its legislative purpose, formation, and

   composition, and the pertinence of the subject matter of the subpoena, and

   more. Once executive privilege was invoked, the relevant issues became

   more in number and complexity. At all relevant times, Mr. Bannon relied

   entirely on my research and legal advice and agreed to follow my legal

   advice as my client.

8. As set out in the Opposition, from the date on which a copy of the subpoena

   for Mr. Bannon was sent to me by the Select Committee until October 21,

   2021, when I was advised that the U.S. House of Representatives had voted

   to find Mr. Bannon in contempt of Congress, I was in regular telephone and

   written communication with representatives of the Select Committee as

   counsel for Mr. Bannon.


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9. In my communications with the Select Committee as counsel for Mr.

   Bannon, I repeatedly offered suggestions for courses of action that would

   allow Mr. Bannon to comply with the subpoena, consistent with his legal

   rights, duties, and obligations. No one can fairly or accurately say that Mr.

   Bannon in any way willfully defaulted with respect to this subpoena. Mr.

   Bannon’s actions, through me as his counsel, were quite the opposite of a

   willful default.

10. On October 5, 2021, I received a phone call from an attorney representing

   former President Trump, advising me that the former President was invoking

   executive privilege with respect to the Select Committee’s subpoena directed

   to Mr. Bannon. I immediately communicated that information to Mr.

   Bannon.

11. I immediately began researching the impact on Mr. Bannon’s rights, duties,

   and obligations vis a vis the subpoena, in light of the former President’s

   invocation of executive privilege. I conducted exhaustive research on the

   subject, thoroughly reading all relevant formal opinions from the

   Department of Justice’s Office of Legal Counsel (“OLC”), which I

   understood to be binding authority on the Executive Branch. I also

   researched relevant case law.




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12. I then shared with Mr. Bannon the results of my research. I advised Mr.

   Bannon as his attorney, and knowing that he was fully relying on my legal

   advice and would follow it, that in light of the fact that the Select Committee

   had adopted a rule that would prevent the President’s counsel from attending

   the proposed deposition in order to protect the President’s claims of

   executive privilege, the Office of Legal Counsel (“OLC”) had issued an

   opinion in 2019, which was binding upon the Executive Branch of

   Government, which stated that the subpoena that Mr. Bannon received was

   illegal, unlawful and incapable of being enforced either civilly or criminally.

   Therefore Mr. Bannon was legally entitled to refuse to produce documents

   or testify pursuant to that subpoena. In spite of this statement of law which

   would allow Mr. Bannon to ignore the subpoena, we sought in good faith to

   try to reach an accommodation with the Select Committee. The Select

   Committee simply ignored our requests and made no attempt to reach an

   accommodation.

13. Indeed, from the date on which I was notified that executive privilege had

   been invoked forward, I began to develop a strategy that would allow Mr.

   Bannon to meet any and all legal obligations and again to see if some kind of

   accommodation could be reached with the Select Committee that would not




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   cause Mr. Bannon to violate his obligations under the invocation of

   executive privilege.

14. For example, I asked counsel for the Select Committee whether, if Mr.

   Bannon were to appear for a deposition pursuant to the subpoena, the Select

   Committee would permit a representative of the privilege holder to be

   present in order to be able to invoke privilege on a question by question

   basis. I was told unequivocally that the Committee would not permit this.

15. I advised the Select Committee that Mr. Bannon was constrained from

   complying with the subpoena based on the invocation of executive privilege;

   but I assured the Select Committee that if it were able to resolve the

   privilege issue with former President Trump or if the Select Committee

   would present the matter to a judge in a civil proceeding – a practice I had

   understood had been followed in other situations before other Congressional

   committees when executive privilege had been invoked – and the judge

   directed Mr. Bannon to comply with the subpoena, he would comply. The

   Select Committee ignored my proposal.

16. On the late afternoon of October 18th, as we were about to send our reply to

   Chairman Thompson’s previous letter, I learned that former President

   Trump had filed a lawsuit against the Select Committee Chairman. I knew

   nothing about the substance of the lawsuit but I presumed it might address


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   the issues Mr. Bannon was facing and so, instead of just sending our reply to

   Chairman Thompson, I asked the Select Committee for a brief extension of

   time in order to evaluate that lawsuit and the impact it might have on Mr.

   Bannon’s obligations under the subpoena. The next morning, which was the

   day the Select Committee was holding a televised news conference to vote

   on holding Mr. Bannon in criminal contempt of Congress, Chairman

   Thompson summarily rejected our request for an adjournment, claiming the

   Select Committee’s work was too important to grant an adjournment. This

   was a farcical excuse as the same Committee has granted numerous

   adjournments to other subpoena recipients, but not to Mr. Bannon. That

   night on television, after they voted to recommend to the entire House that

   Mr. Bannon be held in criminal contempt of Congress, both the Chair and

   the Vice Chair said they wanted to make an example out of Mr. Bannon.

17. It soon became clear to me that the Select Committee did not actually

   appear to be interested in any information or materials it thought Mr.

   Bannon might have. Rather it seemed clear to me that the Select Committee

   wanted to try to punish Mr. Bannon for his adherence to the invocation of

   executive privilege and for partisan political reasons and to make him an

   example. Public comments by Select Committee members have confirmed

   this.


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18. I suppose I should not have been surprised to conclude that this was the

   Select Committee’s true agenda, given what I view as the extraordinarily

   inappropriate composition of the Select Committee, if it were truly intended

   to engage in an investigatory process concerning the events at the Capitol on

   January 6, 2021.

19. I learned that the Chairman of the Select Committee had personally filed a

   lawsuit against former President Trump that was filled with allegations

   concerning his view of the causes of the events of January 6th and asserting

   that former President Trump was responsible for those events and for

   causing personal damages to the Chairman. It struck me as outrageous that a

   person who had alleged such personal damages and who already had arrived

   at conclusions was selected to head an “investigation.”

20. Similarly, I learned that other members of the Select Committee had made

   prejudgments about the cause of and responsibility for the events of January

   6th . These included Congressman Raskin, who had led the impeachment

   prosecution centered on the events of January 6th and publicly announced his

   conclusions as well as Congressman Schiff, who similarly had announced

   his conclusions, with both members more recently hawking books each has

   written on the subject, while the “investigation” supposedly is ongoing.

   There are several other examples of Committee members who similarly have


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   announced their public prejudgments concerning the matters purportedly

   under investigation and who have made many public comments while

   serving on the Select Committee that indicate a partisan political agenda far

   removed from any legislative purpose and an inappropriate agenda vis a vis

   Mr. Bannon.

21. In the course of my evaluation of Mr. Bannon’s legal rights, duties, and

   obligations with respect to the subpoena, I consulted several relevant OLC

   opinions which I believed were directly on point and that I understood to be

   binding authority which Mr. Bannon was duty bound to follow, as a former

   adviser in the executive branch.

22. Among the OLC opinions that I consulted and which I understood were

   binding and had to be followed by Mr. Bannon was the following:

   A May 23, 2019 OLC Opinion titled: Attempted Exclusion of Agency

   Counsel from Congressional Depositions of Agency Empoyees.

   This OLC Opinion covers a number of directly relevant subjects. These

   include the recognition of separation of powers concerns in such a situation

   as this and the absolute need for a representative of the Executive Branch

   party to be present in order to determine when to invoke privilege, and the

   application of the Opinion to former employees. Perhaps most significantly,

   it provides the formal binding opinion that a subpoena directing an
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   Executive Branch employee or former employee to appear before Congress

   for a deposition, while not permitting an appropriate Executive Branch

   employee to be present exceeds the Committee’s authority and “therefore

   lack(s) legal effect.” [Page 13]. It further holds that no such subpoena can

   be enforced by civil or criminal means or through any inherent contempt

   power of Congress. [Page 13-14]. The binding OLC Opinion then refers

   specifically to the possibility of a criminal prosecution under 2 U.S.C.

   Sections 192 and 194 and it notes that the OLC previously had opined that

   “the criminal contempt of Congress statute does not apply to the President or

   presidential subordinates who assert executive privilege.” [Page 14].

   Lastly, it expresses the view that it would be “unconstitutional” to try to

   enforce any such subpoena where the committee will not permit the

   Executive Branch representative to accompany the witness. [Page 14].

   Tellingly, these principles apply under this OLC Opinion, even if the

   Executive Branch has not yet invoked the privilege; for it is essential that an

   Executive Branch representative be permitted to be present when a current

   or former Executive Branch employee is deposed in case a privileged matter

   were to arrive which the witness might not recognize as such. [Page 10].

23. I consulted several other directly relevant OLC Opinions that supported the

   conclusion that Mr. Bannon should not appear or produce documents under

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   the subpoena as a matter of law. At all times I discussed each Opinion and

   other legal source with Mr. Bannon, gave him my legal conclusions and I

   directed him that he must not appear or produce documents in response to

   the subpoena. He relied in good faith on my legal advice and on these OLC

   Opinions and other legal sources I brought to his attention, and he agreed to

   follow my legal advice as directed.

24. On behalf of Mr. Bannon, I did everything I believed to be legally possible

   and appropriate to arrive at some kind of accommodation with the Select

   Committee that was legally permissible (e.g. proposing that they take the

   matter before a judge for resolution of the issues; requesting a brief

   extension of time to let the executive privilege litigation play out). At no

   time did Mr. Bannon nor I intend to defy any Congressional body or default

   on any legal obligation. The fact that Mr. Bannon did not appear or produce

   documents pursuant to the subpoena was entirely a function of my legal

   conclusions and my legal advice and directives to him based on the OLC

   Opinions and case law concerning his legal rights, duties, and obligations,

   and the effect the invocation of executive privilege had on the same,

   prohibiting him, in my studied and expressed legal opinion, from complying

   with the subpoena.




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25. In an attempt to secure a declination from the United States Attorney’s

   Office for the District of Columbia, I produced all the correspondence

   between myself and the Select Committee and voluntarily agreed to meet

   with representatives of the United States Attorney’s Office to set forth the

   reasons behind my legal conclusions. I provided them with the details of

   some of the OLC Opinions and other legal authority on which I relied in

   arriving at my legal conclusions and on which Mr. Bannon relied through

   my legal advice and direction.

26. I believed and continue to believe that there are other legal deficiencies

   with respect to the Select Committee and its authority that also rendered the

   subpoena legally unenforceable and prohibit any criminal prosecution of Mr.

   Bannon and I have so advised Mr. Bannon and he has continued to rely on

   my legal advice in good faith.

27. Following the referral by Congress to the Department of Justice for

   consideration of prosecution for criminal contempt, I entered in good-faith

   into discussions with the prosecutors assigned to this case in an effort to

   demonstrate why a criminal prosecution would be both unlawful and

   inappropriate under the circumstances of this matter. I provided them orally

   and in writing with my reasons, many of the bases for my legal conclusions,

   I specified OLC Opinions that I relied on and that Mr. Bannon had relied on


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   through me, and I repeatedly told the prosecutors that Mr. Bannon has at all

   times relied on the OLC opinions and my legal advice in all regards in this

   matter and that he did not comply with the subpoena based on my legal

   advice and directives to him and his good-faith reliance on the same and on

   the binding effect of the OLC Opinions which I went over with him, along

   with other legal authority.

28. I was shocked by additional events that have attended this matter. First,

   while I thought I was in the middle of good-faith discussions with these

   prosecutors, I was simply notified, without advance notice, that they had

   obtained an indictment against Mr. Bannon. Secondly, I was shocked to

   read that President Biden decided to insert himself in this matter and

   publicly called for the criminal prosecution in this case. Third, and most

   recently, I was shocked to learn last month that while I believed I was

   engaged in good-faith discussions, the prosecutors in this case were secretly

   taking steps to obtain my personal and professional telephone and email

   records. I have never encountered such conduct in the almost fifty years I

   have been practicing law.

29. Finally, I am baffled by the Government’s motion. I cannot understand,

   especially in a case of this nature, why the Government would want to

   prevent the jury in this case from hearing all of the relevant facts and the


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      truth about the reason Mr. Bannon did not comply with the subpoena or why

      the Government would fail to acknowledge the appropriateness of a lay

      person having to rely on advice of counsel in dealing with technical legal

      concepts like executive privilege and committee rules. To prevent Mr.

      Bannon from putting on evidence or presenting any argument related to his

      good-faith reliance on my advice as his attorney would, by definition, mean

      presenting the jury with a false rendition of the actual operative facts.

      Moreover, the Government goes well beyond that in its motion and literally

      asks the Court to bar Mr. Bannon from putting on any evidence or making

      any argument that he acted in good-faith reliance on the law. The idea that a

      defendant charged in a criminal case cannot present a defense that he relied

      in good faith on the law is absurd beyond words and it is shameful that the

      Government would seek such an Order.

      Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury under the
laws of the United States of America, that the foregoing is true and correct.
Executed on February 25, 2022
New York, New York


                                /s/ Robert J. Costello




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